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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                         MAGISTRATE JUDGE KRISTEN L. MIX

  Courtroom Deputy: Laura Galera          FTR - Reporter Deck - Courtroom A-401
  Date: July 28, 2020                     Alfred A. Arraj United States Courthouse




  Civil Action No. 20-cv-00871-CMA-KLM

  Parties:                                       Counsel:

  BRYCE ABBINK,                                  Patrick Peluso

         Plaintiff,

  v.

  GOOD CHEMISTRY I, LLC,                         Eric Seese
                                                 John Richer
         Defendant.


                                COURTROOM MINUTES


  TELEPHONIC RULE 16(b) SCHEDULING CONFERENCE
  Court in session: 9:34 a.m.
  Court calls case. Appearances of counsel.

  Discussion regarding the correct name of the person or entity who sent the disputed
  texts.

  ORDERED: A stipulated proposed 502(d) order shall be filed no later than August 11,
           2020.

  ORDERED: A joint Status Report regarding settlement efforts shall be filed no later
           than September 30, 2020.

  The following will confirm the actions taken and dates set at the scheduling
  conference held this date:
  Deadline for Joinder of Parties/Amendment of Pleadings: October 25, 2020.
  Written and Oral Fact Discovery Cut-off: March 26, 2021.
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  Deadline for Discovery Regarding Class Certification and Merits Issues: May 28, 2021.
  Plaintiff shall designate affirmative experts on or before March 14, 2021.
  Defendant shall designate affirmative experts on or before March 28, 2021.
  Parties shall designate rebuttal experts on or before April 26, 2021.
  Each side shall be limited to three (3) expert witnesses, absent further leave of Court.

  Each side shall be limited to ten (10) depositions, absent further leave of Court.
  Each side shall be limited to twenty-five (25) interrogatories, twenty-five (25) requests
  for production, and twenty-five (25) requests for admissions, absent further leave of
  Court.

  Counsel shall call the Court by joint conference call for hearings regarding
  unresolved discovery disputes prior to filing any discovery motions.

  No STATUS CONFERENCE is set at this time. If the Court determines one is
  necessary, one will be set by Minute Order. The parties may request a status
  conference by contacting Chambers (303) 335-2770, preferably as a joint conference
  call, and request that one be set.

  Counsel and the parties must notify chambers (303-335-2770) at least 3 business
  days in advance of any hearing requiring presentation of documentary evidence, so
  that the courtroom can be equipped with the appropriate electronic technology.

  A Final Pretrial Conference, Trial Preparation Conference and Trial will be set at a
  future date.

  Court discusses Magistrate Judge Mix’s “Requirements of Practice” with counsel.

  !      Scheduling Order is signed and entered with interlineations on July 28, 2020.


  HEARING CONCLUDED.
  Court in recess: 10:04 a.m.
  Total Time: 00:30



  To order transcripts of hearings, please contact either AB Litigation Services at (303)
  629-8534 or Patterson Transcription Company at (303) 755-4536.




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